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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

03 8Q071 CR-MlDDLEBRooKS

 

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FEDERAL GRAND JURY 02_02 (wPB)) GI_§§I§ATE winch no
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COMES NOW the United States of America, by and through the undersigned As§stéifft’
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United States Attomey, and hereby requests this Honorable Court to seal this Motiori;"t-l"r‘élndig)tment

with all related documents, the Order to Seal lndictment, the Court’s Sealing Cover Sheet, and the
Summons for Arrest with the exception of a copy of the Summons for Arrest to be provided to the
U.S. Marshals Service and the law enforcement agent whose name is noted on the summons, relative
to the above captioned matter until such time as the defendant(s) are/is arrested or further order of

the Coult.

Respectfully submitted,

MARCOS DANIEL JIMENEZ
UNITED STATES ATTORNEY

C.”BM ~

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